      Case 5:20-cv-02202-JGB-SHK                    Document 7    Filed 12/09/20   Page 1 of 3 Page ID
                                                          #:17


 1 Philip H. Stillman, Esq. SBN# 152861
   STILLMAN & ASSOCIATES
 2 3015 North Bay Road, Suite B
   Miami Beach, Florida 33140
 3 Tel. and Fax: (888) 235-4279
   pstillman@stillmanassociates.com
 4
   Attorneys for defendant
 5 CSP HOSPITALITY LLC
 6
                                UNITED STATES DISTRICT COURT FOR THE
 7
                                   CENTRAL DISTRICT OF CALIFORNIA
 8
                                                                 Case No. 5:20-cv-02202-SP
 9 THERESA BROOKE, a married woman )
   dealing with her sole and separate claim, )                   NOTICE OF MOTION AND MOTION
10                                           )                   TO DISMISS COMPLAINT
                             Plaintiff,      )
11                  vs.                      )
                                             )                   Date:     January 12, 2021
12                                           )                   Time:     10 a.m.
   CSP HOSPITALITY LLC, a California         )                   Courtroom: 3, 3rd Fl.
13 limited liability company dba Hampton Inn )
   & Suites Indio,                           )
14                                           )                   Hon. Sheri Pym
                             Defendant.      )
15 __________________________________ )
16
17
18
19
20
21
22
23
24
25
26
27
28

     Notice of Motion and Motion to Dismiss Complaint
      Case 5:20-cv-02202-JGB-SHK                    Document 7      Filed 12/09/20   Page 2 of 3 Page ID
                                                          #:18


 1 TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE that on January 12, 2021, at 10 a.m. in Courtroom 3 of the
 3 Central District of California Federal Court, Defendant will and hereby does move this
 4 Court for an Order dismissing the Complaint for lack of standing and failure to state a
 5 claim, pursuant to Fed. R. Civ. P. 12(b)(1) and (6). This motion is brought on the grounds
 6 that THERESA BROOKE (“Plaintiff”) lacks sufficient Article III standing to bring the
 7 claims asserted in the complaint under the Americans with Disabilities Act and fails to state
 8 a claim. Additionally, Plaintiff fails to allege sufficient facts to support standing under the
 9 Unruh Act claim and the Court should decline to decline to exercise jurisdiction.
10           This motion is based on this Notice of Motion and Motion, the Memorandum of
11 Points and Authorities filed herewith, the Declaration of Pinank Bhakta, the Declaration of
12 Philip Stillman, the Request for Judicial Notice and the pleadings and papers on file herein,
13 and upon such other matters as may be presented to the Court at the time of the hearing, if
14 any.
15                                                      Respectfully Submitted,
16                                                      STILLMAN & ASSOCIATES
17
18 Dated: December 9, 2020                              By:_____________________
                                                              Philip H. Stillman, Esq.
19                                                      Attorneys for defendant CSP HOSPITALITY LLC
20
21
22
23
24
25
26
27
28

     Notice of Motion and Motion to Dismiss Complaint         -1-
      Case 5:20-cv-02202-JGB-SHK                    Document 7       Filed 12/09/20   Page 3 of 3 Page ID
                                                          #:19


 1                                                      PROOF OF SERVICE
 2           I, the undersigned, certify under penalty of perjury that on December 9, 2020 or as
 3 soon as possible thereafter, copies of the foregoing Motion to Dismiss, Memorandum of
 4 Points and Authorities, the Declaration of Pinank Bhakta, the Declaration of Philip
 5 Stillman, the Request for Judicial Notice and proposed Order were served electronically by
 6 the Court’s ECF notice to all persons/entities requesting special notice or otherwise entitled
 7 to the same.
 8                                                        By: /s/ Philip H. Stillman
                                                            Attorneys for CSP HOSPITALITY LLC
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Notice of Motion and Motion to Dismiss Complaint          -1-
